EXHIBIT 15
                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

POLARIS POWERLED                                  §
TECHNOLOGIES, LLC,                                §
                                                  §
                Plaintiff,                        §
                                                  §
v.                                                §   CIVIL ACTION NO. 2:17-CV-00715-JRG
                                                  §
SAMSUNG ELECTRONICS AMERICA,                      §
INC., SAMSUNG ELECTRONICS CO.,                    §
LTD., SAMSUNG DISPLAY CO., LTD.,                  §
                                                  §
                Defendants.                       §


               ORDER ON PRETRIAL MOTIONS AND MOTIONS IN LIMINE

          The Court held an Initial Pretrial Conference in the above-captioned case on June 3, 2019,

 regarding pretrial motions and motions in limine (“MIL”) filed by Plaintiff Polaris PowerLED

 Technologies, LLC (“Polaris”) and Defendants Samsung Electronics America, Inc., Samsung

 Electronics Co., Ltd., and Samsung Display Co., Ltd. (collectively, “Samsung”). This Order

 summarizes and memorializes the Court’s rulings and reasons therefor on the aforementioned

 motions as announced into the record, including additional instructions that were given to the

 Parties. This Order in no way limits or constrains the Court’s rulings as announced into the record

 from the bench. Accordingly, it is hereby ORDERED as follows:

                                      PRETRIAL MOTIONS

     I.   Defendants Samsung’s Opposed Motion for Leave to Serve a Supplemental Expert
          Report by Dr. Philip C.D. Hobbs (Dkt. No. 203)
          This motion is GRANTED. (Dkt. No. 330, at 44:5–19.) Additionally, the parties are

 ORDERED to meet and confer regarding any supplemental expert report of Dr. Victor Roberts to
be served in response to Dr. Hobbs’ supplemental report, and to submit a joint or agreed motion

regarding the same no later than Friday, June 7, 2019. (Id. at 214:7–16.)

 II.   Defendants Samsung’s Opposed Motion for Leave to Serve a Supplemental Expert
       Report by Dr. Philip C.D. Hobbs Regarding Garmin Source Code (Dkt. No. 313)
       This motion is DENIED. (Dkt. No. 330, at 44:20–45:18.) However, the Court shall hold

Polaris to its representations that it will not argue that Samsung or Hobbs intentionally avoided

examination of the Garmin source code. (Id. at 45:18–46:4.)

III.   Plaintiff Polaris’s (1) Daubert Motion to Exclude and (2) Motion to Strike Portions of
       Expert Report of Defendants’ Technical Expert Dr. Philip Hobbs (Dkt. No. 201)
       This motion is GRANTED-IN-PART and DENIED-IN-PART. The motion is

GRANTED with respect to Dr. Hobbs’ “dark level bias” opinion (Dkt. No. 331, at 31:1–7; see

Dkt. No. 201, Part II.C., at 5–7) and his reference to Samsung’s patents and patent applications

(Dkt. No. 331, at 31:19–32:7; see Dkt. No. 201, Part II.I., at 14). Accordingly, paragraphs 157–

164, 226–228, 292–296, and 313 of the Rebuttal Expert Report of Dr. Philip C.D. Hobbs

Regarding Infringement in Response to Expert Report of Dr. Ravin Balakrishnan dated February

26, 2019 are hereby STRICKEN. (Dkt. No. 201-5.) All other relief sought in the motion is

DENIED. (Dkt. No. 331, at 30:7–32:9.)

IV.    Defendants Samsung’s Motion to Strike Expert Opinions of Dr. Ravin Balakrishnan
       Regarding Previously Undisclosed Infringement Theories (Dkt. No. 185)
       This motion is DENIED. (Dkt. No. 330, at 71:17–72:14.)

 V.    Defendants Samsung’s Daubert Motion to Exclude the Opinions Offered by Paul C.
       Benoit (Dkt. No. 199)
       This motion is DENIED. (Dkt. No. 330, at 93:15–23.)

VI.    Plaintiff Polaris’s Motion to Strike Portions of Defendants’ Damages Expert Mr. Paul
       K. Meyer’s Expert Rebuttal Report (Dkt. No. 192)
       This motion is GRANTED-IN-PART and DENIED-IN-PART. The motion is

GRANTED with respect to Mr. Meyer’s opinions that rely on new financial costs of goods sold


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 information of Samsung. (Dkt. No. 330, at 106:24–108:9; see Dkt. No. 192, Part II.D., at 11–13.)

 Accordingly, paragraphs 160–162 and 369–372 of the Expert Rebuttal Report of Paul K. Meyer

 dated February 26, 2019 are hereby STRICKEN. (Dkt. No. 192-3.) All other relief sought in the

 motion is DENIED. (Dkt. No. 330, at 108:13–17.)

VII.    Defendants Samsung’s Motion for Summary Judgment of Noninfringement for
        Failure to Identify Multiplication of “The Sensing Signal” in Violation of the Court’s
        Claim Construction Order (Dkt. No. 197)
        This motion is DENIED. (Dkt. No. 330, at 116:1–5.)

VIII.   Defendants Samsung’s Motion for Summary Judgment of Noninfringement for
        Samsung’s Personalized AutoBrightness Control Phones (Dkt. No. 195)
        The Court, consistent with O2 Micro International Ltd. v. Beyond Innovation Technology

 Co., determined that this motion and Polaris’s related motion (Dkt. No. 196) raised an actual

 dispute as scope of the term “configured to,” as set forth in U.S. Patent No. 8,223,117 (the “’117

 Patent”), requiring additional claim construction. (Dkt. No. 330, at 131:8–12, 20–23.) 521 F.3d

 1351, 1360 (Fed. Cir. 2008) (“When the parties raise an actual dispute regarding the proper scope

 of [the] claims, the court, not the jury, must resolve that dispute.”). Accordingly, the Court sua

 sponte construed the term “configured to” (Dkt. No. 18-1, at 12:30–38) as “actually programmed

 or implemented with hardware or software to.” (Dkt. No. 330, at 131:13–19.) See SIPCO, LLC

 v. ABB, Inc., No. 6:11-cv-48-LED-JDL, 2012 WL 3112302, at *11 (E.D. Tex. July 30, 2012)

 (“[T]he claims mandate that the devices are ‘configured to’ perform particular functions.

 Interpreting ‘configured to’ as requiring only mere capability would eliminate any meaningful

 limits to the claims. Accordingly, the Court finds that ‘configured to’ means ‘actually programmed

 or equipped with hardware or software to.’”). This construction is consistent with the intrinsic

 record—i.e., the specification of the ’177 Patent. (See e.g., Dkt. No. 18-1, at 2:7–10 (“In one

 embodiment, software algorithm can be used to multiply the light sensor output with the user


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selectable brightness control. In another embodiment, analog or mixed signal circuits can be used

to perform the multiplication.”) (emphasis added).)

          In light of this construction, Samsung’s motion is DENIED. (Dkt. No. 330, at 131:25–

132:2.)

IX.       Defendants Samsung’s Motion for Partial Summary Judgment of No Pre-Suit Willful
          Infringement (Dkt. No. 200)
          This motion is GRANTED. (Dkt. No. 330, at 151:22–152:14.)

 X.       Plaintiff Polaris’s Motion for Partial Summary Judgment (Dkt. No. 196)
          This motion is DENIED. (Dkt. No. 330, at 152:16–19; Dkt. No. 331, at 42:16–43:6.)

                                     MOTIONS IN LIMINE

  I.      Unopposed Motions in Limine (Dkt. No. 238)
          The following motions in limine are GRANTED AS UNOPPOSED. (Dkt. No. 330, at

176:18–177:6.)

          Polaris’s Unopposed MIL No. 1: No evidence or argument regarding Polaris’ owners’

personal wealth or net worth.

          Polaris’s Unopposed MIL No. 2: No evidence or argument regarding either party’s senior

executive(s) not attending trial as corporate representative of the party.

          Polaris’s Unopposed MIL No. 3: No evidence or argument that an award of damages might

increase end product prices, impact employees or economically injure the party.

          Polaris’s Unopposed MIL No. 4: No evidence or argument about whether an attorney of

record for Polaris has been a member of Polaris’ board of managers.

          Polaris’s Unopposed MIL No. 5: No evidence or argument that Samsung is “practicing the

prior art” as a defense to infringement.

          Polaris’s Unopposed MIL No. 6: No evidence or argument referring to Polaris as a patent

troll.

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 II.    Polaris’s Disputed Motions in Limine (Dkt. No. 238)
        Polaris’s MIL No. 1: Preclude Samsung’s assertion that it patented the autobrightness

functionality in its phones and televisions that are accused of infringing Polaris’ ’117 Patent-in-

Suit.

        This motion in limine is GRANTED. (Dkt. No. 330, at 166:19–167:3.)

        Polaris’s MIL No. 2: Preclude Samsung’s alleged use in 2005 and thereafter of

autobrightness functionality in its TVs, which are not prior art.

        This motion in limine is DENIED. (Id. at 180:16.) However, the Court clarified that,

despite this ruling, this subject might still be subject to appropriate objections, such as relevance,

depending upon its use at trial. (Id. at 180:16–19.)

        Polaris’s MIL No. 3: Preclude Samsung’s alleged noninfringing alternatives.

        This motion in limine is WITHDRAWN. (Id. at 167:8–10.)

        Polaris’s MIL No. 4: Preclude Samsung’s S2 & S3 smartphones as alleged non-infringing

alternatives.

        This motion in limine is DENIED. (Id. at 184:6–10.)

        Polaris’s MIL No. 5: Preclude Purpose of Samsung’s Customer Surveys.

        This motion in limine is WITHDRAWN. (Id. 167:14–15; Dkt. No. 321, at 1.)

        Polaris’s MIL No. 6: Preclude noninfringement of claim limitations Samsung did not

dispute during discovery, and first raised in expert report.

        This motion in limine is GRANTED BY AGREEMENT OF THE PARTIES. (Dkt. No.

330, at 167:16–168:5.) Specifically, Samsung agrees that it will not contend that the accused

products lack the following claim limitation in claim 1 of the ‘117 patent: “a light sensor

configured to sense ambient light and to output a sensing signal indicative of the ambient light



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level.” This claim limitation is admitted by Samsung for all accused products. (Dkt. No. 321, at

1.)

       Polaris’s MIL No. 7: Preclude evidence of previously asserted claims that were dropped

from the case by agreement of the parties.

       This motion in limine is GRANTED BY AGREEMENT OF THE PARTIES. (Dkt. No.

330, at 168:10–15.) Specifically, Samsung agrees that it will not inform the jury as to whether

Polaris previously may have asserted that Samsung infringes patent claims of the ‘117 patent that

were or may be dropped from the case. If Polaris drops its claim of infringement of additional

patent claims during trial, Samsung reserves the right, however, to cross examine Polaris’s

infringement expert witness as to his opinions regarding such claims, but without informing the

jury whether such claims were previously asserted and/or dropped from the case. (Dkt. No. 321,

at 1–2.)

       Polaris’s MIL No. 8: Preclude Samsung’s license agreements relating to battery life.

       This motion in limine is WITHDRAWN. (Dkt. No. 321, at 2.)

       Polaris’s MIL No. 9: Preclude comparability of certain unrelated technologies that

Samsung has licensed from other patent owners.

       This motion in limine is DENIED. (Dkt. No. 330, at 168:17–169:2.)

       Polaris’s MIL No. 10: Preclude late “Supplemental” Dr. Hobbs Invalidity Report, served

without meet and confer or Court order, and errata sheet.

       This motion in limine is WITHDRAWN. (Id. at 169:3–17.)

       Polaris’s MIL No. 11: Preclude evidence contradicting Samsung’s interrogatory responses

or 30(b)(6) witness testimony.

       This motion in limine is DENIED. (Id. at 169:18–23.)



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        Polaris’s MIL No. 12: Preclude Samsung’s designation of deposition testimony of its own

witnesses, rather than calling them live at trial.

        This motion in limine is GRANTED BY AGREEMENT OF THE PARTIES. (Id. at

169:24–170:9.) Specifically, Samsung agrees that it will not offer to publish to the jury the

deposition testimony of Samsung’s own witnesses unless Samsung establishes and the Court

orders that any such witness is unavailable. This MIL No. 12 does not prevent the parties from

publishing counter-designated deposition testimony that are prior consistent statements if

permitted under Fed. R. Evid. 801(d)(1)(B). (Dkt. No. 321, at 2.)

        Polaris’s MIL No. 13: Preclude Samsung’s attempt to present obviousness invalidity

combination using prior art references not disclosed by Samsung as among the not more than six

prior art references/combinations to be used at trial.

        This motion in limine is GRANTED. (Dkt. No. 330, at 189:12–13.) At trial, Samsung must

approach and demonstrate that the Ottenstein or Pioneer references are being properly used as

background material rather than as an inappropriate obviousness combination before such

references can be presented to the jury. (Id. at 189:13–18.)

        Polaris’s MIL No. 14: Preclude Samsung’s attempt to use Microsemi internal

documents/emails (which are not public and cannot be prior art) to establish Samsung’s invalidity

defense.

        This motion in limine is DENIED. (Id. at 193:11–13.) The Court clarified that it would

rule on the admissibility of any particular exhibits as appropriate. (Id. at 193:13–22.)

        Polaris’s MIL No. 15: Preclude Samsung’s attempt to use non-prior art, a Microsemi

LX1970 production data sheet, to establish Samsung’s invalidity defense without evidence this

document was publicly available before 2/9/2004.



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        This motion in limine is WITHDRAWN. (Id. at 170:22–25.)

        Polaris’s MIL No. 16: Preclude evidence or argument about discovery disputes or

communications between counsel regarding discovery.

        This motion in limine is GRANTED BY AGREEMENT OF THE PARTIES. (Id. at

171:1–10.) Specifically, Samsung agrees that it will not attempt to inform the jury that Polaris’

counsel allegedly admitted that Samsung’s Galaxy S2, Samsung’s J phones, or Samsung’s Tab A

do not infringe the ’117 Patent. (Dkt. No. 321, at 2.)

III.    Samsung’s Disputed Motions in Limine (Dkt. No. 237)
        Samsung’s MIL No. 1: Preclude expert testimony not disclosed in expert reports.

        This motion in limine is WITHDRAWN. (Dkt. No. 321, at 2.)

        Samsung’s MIL No. 2: Preclude evidence or argument relating to Samsung’s IPR petition.

        This motion in limine is GRANTED. (Dkt. No. 330, at 195:12–14.) Any party who wishes

to discuss anything related to the Patent Trial and Appeal Board shall first approach and seek leave.

(Id. at 195:14–18.)

        Samsung’s MIL No. 3: Preclude evidence or argument that violates the entire market value

rule.

        This motion in limine is DENIED. (Id. at 171:16–172:11.)

        Samsung’s MIL No. 4: Preclude evidence or argument concerning the doctrine of

equivalents at trial other than regarding the limitation “sensing signal indicative of the ambient

light level.”

        This motion in limine is DENIED-AS-MOOT BY AGREEMENT OF THE PARTIES.

(Id. at 172:12–16.) As Samsung agrees that it will not contend that the accused products lack the

claim limitation “a light sensor configured to sense ambient light and to output a sensing signal

indicative of the ambient light,” (as set forth in Polaris’s MIL No. 6), Polaris will not offer evidence

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of infringement under the doctrine of equivalents for this or any other claim limitation. (Dkt. No.

321, at 2.)

        Samsung’s MIL No. 5: Preclude evidence or argument concerning possibility of or

scheduling of third-party depositions.

        This motion in limine is GRANTED BY AGREEMENT OF THE PARTIES. (Dkt. No.

330, at 172:17–173:1.)

        Samsung’s MIL No. 6: Preclude evidence or argument of discovery deficiencies,

violations, or spoliation.

        This motion in limine is GRANTED BY AGREEMENT OF THE PARTIES. (Id. at

173:2–4.) However, the parties agree that raising an absence of proof, including documentation to

support such proof, is not precluded. (Dkt. No. 321, at 2–3.)

        Samsung’s MIL No. 7: Preclude evidence or argument for the presumption of validity.

        This motion in limine is GRANTED. (Dkt. No. 330, at 199:3–4.) This ruling does not

preclude a party from reminding the jury of the instructions the Court provides to the jury. (Id. at

199:4–6.) However, any discussion of the appropriate legal standard that goes beyond the Court’s

prior instructions requires leave. (Id. at 199:6–8.)

        Samsung’s MIL No. 8: Preclude improper argument regarding the burden of proof.

        This motion in limine is GRANTED-IN-PART and DENIED-IN-PART BY

AGREEMENT OF THE PARTIES. (Id. at 173:10–174:5.) Specifically, the parties agree that

they will not analogize the burdens of proof applicable to the issues in this case to the standard

applied in family law cases to terminate parental rights or withdrawal of life support. (Dkt. No.

321, at 3.) The motion is otherwise DENIED. (Dkt. No. 330, at 174:6–10.)




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       Samsung’s MIL No. 9: Preclude reference to a priority or reduction to practice date earlier

than the date of filing of the provisional patent to which the ’117 Patent claims priority.

       This motion in limine is WITHDRAWN BY AGREEMENT OF THE PARTIES. (Id.

at 201:17–202:6.)

       Samsung’s MIL No. 10: Preclude any comment on the failure to present live testimony

from any unavailable witness, including Samsung witnesses in Korea.

       This motion in limine is DENIED-AS-MOOT BY AGREEMENTOF THE PARTIES.

(Id. at 174:15–18.) Specifically, the parties agree not to comment on the failure to present live

testimony, as opposed to deposition testimony, from any Samsung witness residing in Korea. (Dkt.

No. 321, at 3.)

       Samsung’s MIL No. 11: Preclude irrelevant testimony regarding timing and circumstances

of device inspections.

       This motion in limine is DENIED. (Dkt. No. 330, at 207:9–20.) The parties’ experts may

testify, within the scope of their reports, as to the testing that they did on any device and the

conditions of that testing. (Id. at 207:20–23.) However, the Court expects to receive—and will

sustain—an objection as to any testimony that strays beyond that into name-calling, statements as

to timeliness or condition upon delivery, or similar statements to that effect. (Id. at 207:24–209:7.)

       Samsung’s MIL No. 12: Preclude evidence or argument emphasizing the nationality or

place of residence of any party or witness.

       This motion in limine is GRANTED. (Id. at 175:22–23.) The parties agreed not make

references denigrating, disparaging, touting, or exalting unnecessarily on the nationality or place

of residence of a party or witness, but comments as to the nationality or residency of the parties

may be stated in opening and voir dire. (Dkt. No. 321, at 3.) The Court further added that the



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parties may identify where someone lives or what their citizenship is as a purely factual matter

without needless repetition. (Dkt. No. 330, at 175:23–176:8.)

        Samsung’s MIL No. 13: No testimony or argument regarding U.S. Patent No. 6,841,947

(or any related patents).

        This motion in limine is GRANTED BY AGREEMENT OF THE PARTIES. (Id. at

176:13–17.) Specifically, the parties agree not to reference U.S. Patent No. 6,841,947 (or any

related patents) at trial. (Dkt. No. 321, at 3.)

                        DISPUTES AS TO PRE-ADMITTED EXHIBITS
   .
        The Court SET a hearing on any remaining exhibit disputes for Tuesday, June 11, 2019

at 9:00am. (Dkt. No. 330, at 11:4–6, 210:8–9.) The Court ORDERED the parties to meet and

confer regarding any such disputes and to file a joint notice of any remaining disputes no later

than 4:00pm on Monday, June 10, 2019. (Id. at 11:14–23, 210:9–14.) In the event the parties

resolve all remaining disputes by such time, the hearing shall be cancelled upon notice of the same.

(Id. at 210:15–20.)

       So ORDERED and SIGNED this 7th day of June, 2019.




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                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE




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